            Case 1:23-cv-06369-JGLC           Document 138          Filed 06/04/25   Page 1 of 1




                                            THE CITY OF NEW YORK
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                                                                    June 4, 2025
      VIA ECF
      The Honorable Jessica G.L. Clarke
      United States District Judge
      Southern District of New York
      500 Pearl Street
      New York, N.Y. 10007


                       Re: SeanPaul Reyes v. City of New York, 23 Civ. 6369 (JGLC)

      Your Honor:

                    I am a Senior Counsel in the office of Muriel Goode-Trufant, Corporation
      Counsel of the City of New York, representing defendant City of New York in the above
      referenced matter. In advance of the discovery conference set for June 12, 2025 at 2:30 p.m.,
      annexed hereto as Exhibit A are NYPD documents that were just provided to us evidencing the
      threats to NYPD officers that were received following plaintiff’s subject arrest and what we
      understand to be the online posting of plaintiff’s subject arrest video for the benefit of his
      subscribers. Plaintiff has indicated that he has no objection to our submission of these
      documents to the Court.

                       Thank you for your consideration herein.

                                                                    Respectfully submitted,

                                                                    /s/ Mark D. Zuckerman
                                                                    Mark D. Zuckerman
                                                                    Senior Counsel

      cc:    All Counsel (via ECF)
